                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


UNITED STATES OF AMERICA                       )
                                               )
v.                                             )          NO. 3:13-00097
                                               )          JUDGE SHARP
KAYCEE ANNE BREEDEN [2]                        )


                                          ORDER

       Due to calendar conflict, the bond revocation hearing scheduled for September 4, 2014, is

hereby rescheduled for Wednesday, September 10, 2014, at 10:00 a.m.

       It is so ORDERED.




                                            KEVIN H. SHARP
                                            UNITED STATES DISTRICT JUDGE




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